AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                  Eastern District of Tennessee

                  United States of America                           )
                               V.                                    )
                                                                    )
                                                                    )
                                                                            Case No. 3:23-MJ- IQ /)   5
                                                                    )
                     MELODY SASSER                                  )
                                                                    )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of Jan. 1, 2023 through April 27, 2023 in the county of                 Knox
                                                                                          - --- ---  --- in the
      Eastern          District of         Tennessee         , the defendant(s) violated:
            Code Section                                                      Offense Description
18 USC § 1958                                  Murder for Hire.




         This criminal complaint is based on these facts:
(See Attached Affidavit)




         ~ Continued on the attached sheet.


                                                                                            Complainant's signature

                                                                                        Gregory Martin,HSI Special Agent
                                                                                             Printed name and title

Sworn to before me and signed in my presence.




City and state:                      Knoxville, Tennessee                          Debra C. Poplin, U.S. Magistrate ~udge
                                                                                             Printed name and title



      Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 1 of 13 PageID #: 42
                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

IN THE MATTER OF A CRIMINAL COMPLAINT
AND ARREST WARRANT FOR:
                                                            )
                                                            )
                                                                                 •,- ::25
                                                                   No. 3:23-mj-i :) iJ
                                                            )
MELODY SASSER                                               )


                           AFFIDAVIT IN SUPPORT OF
                  AN APPLICATION FOR A CRIMINAL COMPLAINT


                                          AFFIDAVIT

       I, Gregory Martin, a Special Agent ("SA") with the United States Department of

Homeland Security, Immigration and Customs Enforcement, Homeland Security Investigations

("HSI"), and being duly sworn, depose and state the following:

                         INTRODUCTION AND AGENT BACKGROUND

       1.      I am an investigative or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510(7), in that I am empowered by law to

conduct investigations of, and to make arrests for numerous offenses of Title 18 of the United

States Code. I have been a Special Agent with Homeland Security Investigations (HSI) since

November of 2019. In 2011, I successfully completed the Criminal Investigator Training

Program (CITP). In March of 2020 I completed HSI Special Agent Training (HSISAT) at the

Federal Law Enforcement Training Academy (FLETC) in Glynco, GA. Prior to my employment

at HSI, I was employed as a Special Agent with Internal Revenue Service Criminal Investigation

(IRS-CI). I have experience investigating violent crimes and have had communication and

worked with law enforcement who specialize in computer-related crimes.




                                                1
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 2 of 13 PageID #: 43
        2.     This affidavit is based upon my training and experience. Except as noted, all the

information contained in this affidavit is either known to me personally or has been told to me by

other law enforcement officials. Since this affidavit is being submitted for the limited purpose of

securing an arrest warrant, I have not included each and every fact known to me concerning this

investigation. I have set forth only the facts that I believe are necessary to establish probable

cause to demonstrate that SASSER attempted to hire a hitman to murder J              w ~, in

violation of 18 U.S.C. § 1958. As is detailed below, there is probable cause to believe that

Melody SASSER (SASSER) attempted to hire a hitman through a dark net website to murder

- - ~ thereby violating Title 18, United States Code, Section 1958. This affidavit is

being offered in support of a complaint against SASSER for murder for hire.

                                         RELEVANT STATUTES
        3.     As noted above, this investigation concerns alleged violations of 18 U.S.C. §

1958- Murder for Hire which prohibits an individual from traveling in interstate commerce or

using or causing another to use any facility of interstate or foreign commerce, with intent that a

murder be committed in violation of the laws of any state or the United States as consideration

for the receipt or promise of payment.

                                           PROBABLE CAUSE
        4.     On April 27, 2023, I received information regarding a murder for hire plot to kill

~~                   SI Birmingham received information from a foreign law enforcement agency

that ~ ~ s name, address, and photograph was named.as a target for a murder for

hire.

        5.     The information provided to HSI contained messages between a user and site

administrator of a dark web hosted site know as Online Killers Market (OKM). This website



                                                  2
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 3 of 13 PageID #: 44
purports to offer "hitman for hire" type services as well as associated services at the would-be

customer's request, such as hacking, kidnapping, extortion, disfigurement by acid attack, and

sexual violence. The website claims to have over 12,000 registered members from countries

across the world. It consists of a public forum whereby users are encouraged to openly, and

publicly, ask any question of either the administrators or the alleged hitmen. There is also an

option to create an account where would-be customers are able to submit an "order" detailing

their precise requirements, including full intended victim details. They then receive a "quote"

for the job and an alleged "hitman" is assigned_to the account. There is also an internal

messaging system within the website which enables any registered account to directly message

any other registered account, an alleged hitman, or the administrators. This internal messaging

system is not dissimilar in appearance, and functionality, to a regular email type account. The

customers of the website pay for these supposed services with cryptocurrencies.

       6.      Screenshots taken from the OKM website show the order for the murder for hire

from site user "cattree" was placed on January 11, 2023:

       Target: - - ~ ~

       Address:

       City: Prattville, AL

       Country: United States

       BTC: 0.4179

       Description: it needs to seem random or accident. or plant drugs, do not want a long

        znvestigation. she recently moved in with her new husband she works at home and in

       office in birmingham. she works at wide orbit office address

       •    hoover, al when she works in office she works later she drives a blue subaru outback



                                                 3
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 4 of 13 PageID #: 45
        with alabama license plate -            her husband drives a maroon jeep grand cherokee

       · alabama license plat~         her husband works at publix part time they have three

        dogs that bark and jump but nice dogs

        Submitted on January 11, 5:05 UTC

        Status: Payment submitted and secured in escrow



        7.
        The total amount for your orders is: $9750 USD

               The information submitted in the description message regarding   J-W-
was verified to be 100% accurate by HSI Birmingham. Additionally, "cattree" uploaded a photo

o f ~ ~ to the website to ensure she could be positively identified by the assigned

"hitman." Although the initial murder order was submitted on January 11, 2023, SASSER had

made contact earlier on the site and had already conducted an initial payment via a Coinhub

Bitcoin ATM machine on December 31, 2023.

        8.     HSI Birmingham advised the Prattville, AL Police Department of the threat and

patrol was sent to monitor - ~ residence. HSI Birmingham introduced

themselves to - - ~ and informed her of the threat to her life and she agreed to an

interview. Upon n o t i f y i n g - ~ of the threat to her life, she mentioned SASSER as a

suspect. SASSER and - - ~               s h u s b a n d , ~ . were hiking friends in

Knoxville, TN prior to ~ moving to Alabama. SASSER traveled to Alabama in fall

2022 and arrived at his Prattville, Alabama residence unannounced after he told her he was

engaged to be married to ~ SASSER responded to this news by stating "I hope

you both fall off a cliff and die." Also in fall 2022, - - ~ reported damage to her

vehicle where an unknown perpetrator gashed the sides of her vehicle with what appeared to be a

key.



                                                 4
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 5 of 13 PageID #: 46
       9.      Following this incident, - - ~ began to receive unpleasant phone calls

from a person utilizing an electronic device to disguise their voice. The threatening phone calls

were received on - - ~ s phone,                              and displayed various call numbers.

Incoming phone calls reported to be from Voice Over IP (VOIP) or computer-generated phone

numbers and internet calls, which were untraceable. ~           ventually contacted her cell phone

provider and requested that a block be placed on all incoming voice over IP phone calls.

       10.     - - ~ stated she and her husband use a fitness tracking app called

Strava when they hike and exercise. This app is connected to their Garmin watches to share

location data. HSI was able to link certain reported communications to the dates and times

located on ~ s Strava activity and location. On March 27, 2023, during which

- - ~as taking a walk in her neighborhood, "Cattree" messaged OKM and stated:

"yesterday she worked from home and went for a 2 mile walk by herself." HSI Birmingham

verified on - - ~ s Strava app she had indeed walked for exactly 2 miles on March

27, 2023. - - ~ also stated she was working from home on that date. An individual

following Mr. and Mrs. ~ on the Strava app would also know if both were walking at the

same time. HSI believes SASSER has been monitoring Mr. and Mrs. ~ on Strava.

       11.     HSI Birmingham interviewed ~ ~ a n d he stated he met SASSER on

the internet dating website Match.com. ~ ~               tated SASSER assisted him in his

planned Appalachian Trail hike by making reservations at known hostels and other rest points

and took care of his vehicle for him in his absence. ~~ stated SASSER is employed

by Pilot Headquarters in Knoxville, 1N. SASSER drives a Hyundai vehicle which he identified

via a photograph of the vehicle. ~~provided a matching physical description of

SASSER and identified SASSER in a photo shown to him by HSI Birmingham.



                                                 5
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 6 of 13 PageID #: 47
       12.     Phone toll analysis conducted ofSASSER's cell phone                     account

indicate three phone calls were made from SASSER's phone to - - ~                s phone on

November 7, 2022, and six phone calls from SASSER's phone to - - ~                 s phone on

November 14, 2022.

       13.     On November 9th and 14th, 2022, license plate reader cameras captured

Tennessee plate 7 7 ~ within the immediate vicinity o f - - ~                 s workplace

located in Hoover, Alabama -             Parkway a n d - Road). The vehicle is

registered to SASSER, a 2020 Hyundai Santa Fe bearing vehicle identification number:

                    3382, bearing license place 7 7 ~ According t o r i . ~ ' this is

the same vehicle she was driving when she unexpectedly visited   ra    ~ in the fall 2022.

HSI Birmingham showed ~ a photo of this vehicle and he confirmed that it was

SASSER's vehicle. HSI Knoxville observed this vehicle with matching license plate parked at

Pilot Headquarters at                                       , TN 37909 on April 27, 2023. The

Tennessee Department of Labor confirmed SASSER is employed by Pilot.

       14.     OKM site user "cattree" and the site administrator had several back-and-forth

messages regarding the murder for hire that continued from the initial "order" on January 11,

2023, until the most recent message on April 03, 2023, at 17: 17 UTC. Several messages sent by

"cattree" were inquiring the status of the "job." Other messages between "cattree" and OKM

discuss additional payment ofbitcoin for the "job." Pertinent messages from "cattree" to OKM

demonstrating "cattree's" intent to have - - ~ u rdered include:

March 22, 2023, at 20:46 UTC "cattree" sent c!- message to OKM:

       Message: i have waited for 2 months and 11 days and the job is not completed. 2 weeks

       ago you said it was been worked on and would be done in a week. the job is still not



                                                6
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 7 of 13 PageID #: 48
       done. does it need to be assigned to someone else. will it be done. what is the delay. when

       will it be done.

        Subject Re: Re: Re: update Mar 2817 :03 UTC

       Message: Hello, she is not aware. He just failed as he did not attempted it yet, he felt like

        is too risky for him to do it Regards admin

        Subject Re: Re: Re: Re: update Mar 28 17: 57 UTC

       Message: yesterday she worked from home and went for a 2 mile walk by herself. assign

       to another that can complete the job.

        Subject Re: Re: Re: Re: Re: update Mar 29 11: 10 UTC

       Message: Hello, I have two other hitmen that I can assign on the job, but one wants 0-49

        btc and the other 0. 485 which one should I assign? Regards admin

        Subject Re: Re: Re: Re: Re: Re: update Mar29 21:13 UTC

       Message: assign to 0. 485. i will add btc

        15.    Bitcoin is a type of virtual currency, circulated over the Internet. Bitcoin are not

issued by any government, bank, or company, but rather are controlled through computer

software operating via a decentralized, peer-to-peer network. Bitcoin is just one of many

varieties of virtual currency.

        16.    Bitcoin are sent to and received from Bitcoin "addresses." A Bitcoin address is

somewhat analogous to a bank account number and is represented as a 26-to-35-character-long

case-sensitive string of letters and numbers. Each Bitcoin address is controlled through the use

of a unique corresponding private key. This key is the equivalent of a password, or PIN, and is

necessary to access the funds associated with a Bitcoin address. Only the holder of an address'

private key can authorize transfers ofbitcoin from that address to other Bitcoin addresses. Users



                                                   7
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 8 of 13 PageID #: 49
can operate multiple Bitcoin addresses at any given time and may use a unique Bitcoin address

for every transaction.

        17.    To acquire bitcoin, a typical user purchases them from a virtual currency

exchange. A virtual currency exchange is a business that allows customers to trade virtual

currencies for other forms of value, such as conventional fiat money (e.g., U.S. dollars, Russian

rubles, euros). Exchanges can be brick-and-mortar businesses (exchanging traditional payment

methods and virtual currencies) or online businesses (exchanging electronically transferred

money and virtual currencies). Virtual currency exchanges doing business in the United States

are regulated under the Bank Secrecy Act and must collect identifying information about their

customers and verify their clients' identities.

        18.    To transfer bitcoin to another Bitcoin address, the sender transmits a transaction

announcement, which is electronically signed with the sender's private key, across the peer-to-

peer Bitcoin network. To complete a transaction, a sender needs only the Bitcoin address of the

receiving party and the sender's own private key. This information on its own rarely reflects any

identifying information about either the sender or the recipient. As a result, little-to-no personally

identifiable information about the sender or recipient is transmitted in a Bitcoin transaction itself.

Once the sender's transaction announcement is verified by the network, the transaction is added

to the blockchain, a decentralized public ledger that records every Bitcoin transaction. The

blockchain logs every Bitcoin address that has ever received bitcoin and maintains records of

every transaction for each Bitcoin address.

        19.    While a Bitcoin address owner's identity is generally anonymous within the

blockchain (unless the owner opts to make information about the owner's Bitcoin address

publicly available), investigators can use the blockchain to identify the owner of a particular



                                   8
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 9 of 13 PageID #: 50
Bitcoin address. Because the blockchain serves as a searchable public ledger of every Bitcoin

transaction, investigators can trace transactions to, among other recipients, Bitcoin exchangers.

Because Bitcoin exchangers generally collect identifying information about their customers, as

discussed above, subpoenas or other appropriate legal process submitted to exchangers can, in

some instances, reveal the· true identity of an individual responsible for a Bitcoin transaction.

       20.     HSI served legal process to Coinhub, a cryptocurrency ATM company

headquartered in the United States. Coinhub responded to the subpoena and sent all transaction

data and customer info for the following Transaction Hashes and Correlating Addresses that

match the blockchain analysis of "cattree" transactions to OKM for payment to have - -

wa.e murdered:
       a)


       b)


       c)


       21.     The subpoena returns showed Melody SASSER purchased Bitcoin with cash on

four (4) occasions at the Coinhub ATM located at                        1-, Knoxville, 1N 37918.
       22.     On December 31, 2022, at 11:42 EST (16:42 UTC), SASSER deposited $1,000 in

cash into the ATM; after subtracting the BTC network and Coinhub fees, a total of $750.89786

worth ofBitcoin was sent to Bitcoin address:                                                 042rk.

The funds were sent from this Bitcoin address to

on January 4, 2023 at 20:31 EST (January 5, 2023 01 :31 UTC). On January 14, 2023 at 14:33

EST (19:33 UTC), the funds were sent tQ address




                                    9
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 10 of 13 PageID #: 51
                                         FFQAe. This address is identified in the screenshot

"MRS BTC Payment 14.01.23.png" as the receiving address belonging to CATTREE on OK.M.

       23.     On January 28, 2023 at 16:03 EST (21:03 UTC), SASSER deposited $1,300 in

cash into the ATM. After subtracting the BTC network and Coinhub fees, a total of

$1,026.50052 worth ofBitcoin was sent to address

                                                 274 9. On the same day at 18:09 EST (23:09

UTC), the funds were sent to address                                             8hvP. This

address is identified in the screenshot "MRS Cattree 01.01.23.png" as the receiving address

belonging to CATIREE on OK.M.

       24.     On March 29, 2023 at 16:02 EST (20:02 UTC), SASSER deposited $2,000 in

cash into the ATM. After subtracting the BTC network and Coinhub fees, a total of

$1,579.26363 worth ofBitcoin was sent to address

                                           GLJv. On the same day at 19:56 EST (23:56 UTC),

the funds were sent to address                                        bZW. This address is

identified in the screenshot "MRS Cattree 27.03.23.png" as the receiving address belonging to

CATTREE on OK.M.

       25.     On April 2, 2023 at 17: 14 EST (21 :14 UTC), SASSER deposited $510 in cash

into the ATM. After subtracting the BTC _network and Coinhub fees, a total of $402.02125 worth

ofBitcoin was sent to addres                                           4HGF. On the same day at

18:24 EST (22:24 UTC), the funds were sent to address

                                       EbZW. This address is identified in the screenshot "MRS

Cattree 27.03.23.png" as the receiving address belonging to CATTREE on OK.M.




                                                10
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 11 of 13 PageID #: 52
       26.     In order to purchase Bitcoin at a cryptocurrency A TM, the user must already have

a Bitcoin address (which is part of a Bitcoin wallet) that will receive the Bitcoin during the cash-

for-crypto transaction. The QR code for the Bitcoin receiving address is scanned at the ATM, the

user then deposits the cash into the machine, and the ATM sends the purchased Bitcoin amount

to the address from the QR code. The Coinhub ATM requires KYC (know your customer)

identification to complete the transaction, which includes inputting a name and phone number for

text message verification. Phone number 865-300~was provided for the aforementioned

bitcoin transactions. AT&T phone records identify Melody SASSER as the subscriber for phone

number 865-300~. Additionally, SASSER used this same phone number on her Tennessee

Driver's License application and provided the same phone number to Knoxville Utilities Board

for her contact information at her residence at                    , Knoxville, TN.

       27.     Prior to reaching out to HSI Knoxville, HSI Birmingham attempted to contact

SASSER in an undercover capacity by directly messaging her phone number on the messaging

application WhatsApp. SASSER did not respond to the message.

       28.     The Coinhub A TM captures photographs of each user during each transaction.

The photographs assigned to the four transactions match SASSER's Tennessee driver's license

picture and her open-source Facebook profile picture.

       29.     The Coinhub transaction site photographs, the receiving Bitcoin wallets and

addresses, and the Coinhub verification phone number link SASSER to OKM user "cattree."

Accordingly, I believe SASSER necessarily_used a facility in interstate and foreign commerce,

specifically the Internet, to arrange for the murder of ~               . Specifically, SASSER

used the Internet to arrange murders in exchange for money. SASSER further used the Internet

to provide the would-be killer with - - ~              s name, address, a description of her



                                   11
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 12 of 13 PageID #: 53
vehicle, a specific place where         W-could be found. In exchange for         J-
W - s murder, SASSER used the Internet to transmit Bitcoin, with an approximate total

value of $9750, on the dates outlined herein.

                                            CONCLUSION

       30.     Based upon the information provided in this affidavit, I respectfully submit there

is probable cause to establish that Melody SASSER attempted to hire a hitman to murder

- - ~ in violation of Title 18, United States Code, Section 1958, murder for hire.



                                                FURTHER AFFIANT SAYETH NAUGHT.




                                                      Special Agent Gregory Martin
                                                Homeland Security Investigations



                      SUBSCRIBED and SWORN to be me on this \ \--\1--day of May, 2023




                                                      UNITED STATES MAGISTRATE JUDGE




                                    12
Case 3:23-mj-01085-DCP Document 13 Filed 05/23/23 Page 13 of 13 PageID #: 54
